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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ANN C. McCLINTOCK, Bar #141313
     Assistant Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     HOANG NGUYEN, aka BAO LU
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7
                               IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                 ) Case No. 2:99-CR-0433-05 WBS
11                                             )
                  Plaintiff,                   ) ORDER
12                                             )
          v.                                   )
13                                             )
     HOANG NGUYEN, aka BAO LU,                 )
14                                             )
                  Defendant.                   )
15
16
            Pursuant to General Order No. 563 and the provisions of the Criminal Justice Act, 18
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     U.S.C. §§ 3006A(a)(1) and (c), the Office of the Federal Defender is appointed to represent
18
19   defendant HOANG NGUYEN, ask BAO LU, to determine whether he may qualify for federal

20   habeas relief under either 28 U.S.C. § 2255 or 28 U.S.C. § 2241 in light of Johnson v. United
21   States, 135 S.Ct. 2551 (2015), and to present any petitions, motions, or applications relating
22
     thereto for disposition. Due to a conflict, the Federal Defender is relieved and attorney,
23
     Katherine L. Hart, 1600 Fulton Street, Suite 120, Fresno, CA 93721, is appointed counsel for
24
     HOANG NGUYEN ask BAO LU.
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26   IT IS SO ORDERED.

27   Dated: March 3, 2016

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